Case 2:08-cr-02041-EFS   ECF No. 157   filed 02/24/09   PageID.855 Page 1 of 7
Case 2:08-cr-02041-EFS   ECF No. 157   filed 02/24/09   PageID.856 Page 2 of 7
Case 2:08-cr-02041-EFS   ECF No. 157   filed 02/24/09   PageID.857 Page 3 of 7
Case 2:08-cr-02041-EFS   ECF No. 157   filed 02/24/09   PageID.858 Page 4 of 7
Case 2:08-cr-02041-EFS   ECF No. 157   filed 02/24/09   PageID.859 Page 5 of 7
Case 2:08-cr-02041-EFS   ECF No. 157   filed 02/24/09   PageID.860 Page 6 of 7
Case 2:08-cr-02041-EFS   ECF No. 157   filed 02/24/09   PageID.861 Page 7 of 7
